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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

C. TATE GEORGE,
HONORABLE ANNE E. THOMPSON

Petitioner,
v. Civil Action
No. 19-9246 (AET)
UNITED STATES OF AMERICA,
Respondent. ORDER

 

 

This matter having come before the Court on a petition for writ of habeas corpus under
28 U.S.C. § 2241 that was transferred in from the United States District Court for the Middle
District of Pennsylvania (ECF No. 1); Petitioner C. Tate George’s motion to correct, vacate, or
set aside his federal sentence under 28 U.S.C. § 2255 being pending before the Court, George v.
United States, No. 17-cv-2641; the claims in the § 2241 being more appropriately considered
under § 2255; and for good cause shown;

IT IS this ZE dayof__( he 2019, hereby

ORDERED that the Clerk of the Court shall file the petition and exhibits (ECF Nos. | &
2) as a new docket entry in Petitioner’s § 2255 proceeding, Civil Action No. 17-cv-2641. The
new entry shall be docketed as a motion to amend; and it ts further

ORDERED that the United States shall respond to the motion to amend within 30 days of
this order; and it is further

ORDERED that a copy of this Opinion and Order shall be filed in Civil Action No. 17-

cv-2641; and it is further
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ORDERED that the Clerk shall close Civil Action 19-cv-9246 and send a copy of this

Opinion and order to Petitioner by regular mail.

  

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ANNE E. THOMPSON
U.S. District Judge
